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 Timothy M. Stubson, Wyo. Bar No. 6-3144                  Eugene M. LaFlamme (Admitted pro hac vice)
 Brandon E. Pryde, Wyo. Bar No. 8-6883                    Jared B. Giroux (Admitted pro hac vice)
 Holly L. Tysse, Wyo. Bar No. 7-5553                      Jillian L. Lukens (Admitted pro hac vice)
 Crowley Fleck PLLP                                       McCoy Leavitt Laskey, LLC
 111 West 2nd Street, Suite 220                           N19 W24200 Riverwood Drive, Suite 125
 Casper, WY 82601                                         Waukesha, WI 53188
 (P) 307-232-6901                                         (P) 262-522-7000
 tstubson@crowleyfleck.com                                elaflamme@MLLlaw.com
 bpryde@crowleyfleck.com                                  jgiroux@MLLlaw.com
 htysse@crowleyfleck.com                                  jlukens@MLLlaw.com

 Attorneys for Defendants,
 Walmart Inc. and Jetson Electric Bikes, LLC

                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF WYOMING

 STEPHANIE WADSWORTH Individually and as                   )
 Parent and Legal Guardian of W.W., K.W., G.W.,            )
 and L.W., minor children and MATTHEW                      )
 WADSWORTH,                                                )
                                                           )      Case No. 2:23-cv-00118-KHR
         Plaintiffs,                                       )
                                                           )      DEFENDANTS JETSON
 v.                                                        )      ELECTRIC BIKES, LLC AND
 WALMART INC. and JETSON ELECTRIC                          )      WALMART INC.’S TRIAL
 BIKES, LLC,                                               )      BRIEF FOR FEBRUARY 28,
                                                           )      2025 HEARING
         Defendants.                                       )
                                                           )

        WALMART INC. (“Walmart”) and JETSON ELECTRIC BIKES, LLC (“Jetson”),

(collectively “Defendants”), by and through their attorneys, Crowley Fleck PLLP and McCoy

Leavitt Laskey LLC, submit this trial brief to address the “inference of defect” theory and to

provide additional evidence to the Court regarding the “Rogue” hoverboard and Kaufman matter.

I.      PLAINTIFFS ARE NOT ENTITLED TO PROCEED ON “INFERENCE OF DEFECT” PRODUCT
        LIABILITY THEORY.

        Defendants understand that the Court denied the motion for summary judgment regarding

Plaintiffs’ product liability design defect theories on two grounds. First, the Court ruled Plaintiffs’

expert, Mr. King, had sufficient qualifications and reliable opinions regarding the alleged specific

defect in the hoverboard at issue. Second, the Court found that even if it were to strike Mr. King,

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it would still deny the Defendants’ motion on this issue due to Wyoming’s “inference of defect”

rule. Defendants respectfully believe the case law does not permit Plaintiffs to proceed on this

unpled, unasserted, and unfounded theory.

       A. Wyoming’s adoption of Restatement (Second) of Torts Section 402A.

       A claim for strict products liability in Wyoming requires a plaintiff to prove five elements:

       (1) that the sellers were engaged in the business of selling the product that caused
       the harm;
       (2) that the product was defective when sold;
       (3) that the product was unreasonably dangerous to the user or consumer;
       (4) that the product was intended to and did reach the consumer without substantial
       change in the condition in which it was sold; and
       (5) that the product caused physical harm to the plaintiff/consumer.

Ogle v. Caterpillar Tractor Co., 716 P.2d 334, 344 (Wyo. 1986).

       These elements reflect Wyoming’s adoption of Restatement (Second) of Torts § 402A

(1965). Id. at 341-42. The Ogle court found the Restatement’s approach to be the best: “[T]the

restatement definition forms the best starting place from which the cause of action can evolve in

Wyoming. The definition is reasonably complete and will allow the district courts and Wyoming

lawyers to litigate these cases with some measure of confidence.” Id. at 341 (emphasis added).

       B. Wyoming’s adoption of the “inference of defect” rule.

       In Sims v. General Motors Corp., the Wyoming Supreme Court noted that a strict liability

claim requires proof that the product was unreasonably dangerous when it left the seller’s hands:

       “The seller is not liable when he delivers the product in a safe condition, and
       subsequent mishandling or other causes make it harmful by the time it is consumed.
       The burden of proof that the product was in a defective condition at the time that it
       left the hands of the particular seller is upon the injured plaintiff; and unless
       evidence can be produced which will support the conclusion that it was then
       defective, the burden is not sustained.”

Sims v. Gen. Motors Corp., 751 P.2d 357, 360 (Wyo. 1988) (quoting cmt. g to of Restatement

(Second) Section 402A).


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       The Sims court analyzed how a plaintiff could satisfy the second element set forth in Ogle

(“that the product was defective when sold”). Id. Ultimately, the Sims court adopted the “inference

of defect rule,” which is “an inference that a product was defective at the time it left the seller’s

hands if a prima facie case can be presented that there was no abnormal use of the product or that

there were no reasonable secondary causes for the defect.” Id. To support this “inference” concept,

the court cited the Supreme Court of Illinois decision, Tweedy v. Wright Ford Sales, Inc., 64 Ill.2d

570, 2 Ill.Dec. 282, 285, 357 N.E.2d 449, 452 (1976):

       “ ‘A prima facie case that a product was defective and that the defect existed when
       it left the manufacturer's control is made by proof that in the absence of abnormal
       use or reasonable secondary causes the product failed “to perform in the manner
       reasonably to be expected in light of [its] nature and intended function.” ’ ”

Id. (quoting Tweedy) (emphasis provided by Sims).

       The Sims court clarified that a plaintiff is not entitled to the inference merely because a

product failed: “mere proof that the seat belt buckle malfunctioned was not sufficient to create an

inference of a defect. It was plaintiffs’ additional burden to present evidence that there was no

abnormal use and no reasonable secondary causes for the malfunction.” Id. (emphasis added).

       C. Wyoming courts’ application of the “inference of defect” rule.

       State and federal courts have addressed Wyoming’s adoption of “inference of defect” rule.

These courts have granted both summary judgment and directed verdicts where the plaintiff relied

upon an “inference” theory and failed to meet its burden.

       The plaintiff in Sims had been injured when a seat belt failed to release, and a vehicle

caught on fire. Sims, 751 P.2d at 358. However, the plaintiff presented evidence that the

malfunction may have been caused by a number of other items, like a foreign particle being

introduced into the mouth of the buckle. Id. at 361. The lower court entered a directed verdict for

the defendant, finding the plaintiff could not meet its burden for an inference theory. Id. at 360.


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The Wyoming Supreme Court affirmed, finding even though courts are to give the plaintiff every

favorable consideration in reviewing a directed verdict, the plaintiff failed to meet its burden of

proof regarding its claimed manufacturing defect, as there were other potential secondary causes

of the product’s failure. Id. at 361.

        The Wyoming Supreme Court next addressed the “inference of defect” rule in Rohde v.

Smiths Med., 165 P.3d 433 (Wyo. 2007). There, a plaintiff was injured when a Port-A-Cath

implanted in his chest fractured. Id. at 434-436. However, the plaintiff could not present evidence

of a specific defect in the Port-A-Cath implant. He instead relied upon an “inference of defect.”

Id. at 438. The defendant argued that the “compression between the clavicle and first rib,

compounded by Mr. Rohde’s weight gain after implantation, was a reasonable secondary cause of

the fracture.” Id. The plaintiff presented no evidence to contradict this potential secondary cause

of the Port-A-Cath’s fracture (failing). Id. at 439. Therefore, the Rohde plaintiff was not entitled

to an inference of defect.

        The Tenth Circuit has also examined Wyoming’s “inference of defect” rule. See Tolman v.

Stryker Corp., 640 F. App'x 818, 819 (10th Cir. 2016) (unpublished). In Tolman, doctors implanted

a “nail” to stabilize the bone in the plaintiff’s femur after it broke during an ATV accident. Id. The

nail later failed. Id. The plaintiff asserted negligence and strict liability claims against the

manufacturer of the nail. Id. This Court granted summary judgment to the manufacturer, finding

the plaintiff could not identify a specific defect and was not entitled to an inference of defect. Id.

The Tenth Circuit stated that under Wyoming law, the plaintiff had to do more than “show that an

injury occurred during use of the product” or even that “the product failed ‘to perform in the

manner reasonably to be expected in light of [its nature] and intended function.’” Id. (citing Rohde,




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165 P.3d at 437). Rather, the plaintiff had to present “proof” that the failure “occurred ‘in the

absence of . . . reasonable secondary causes.’” Id.

       Both this Court and the Tenth Circuit found the defendant had identified a reasonable

secondary cause of the nail’s failure: “bone nonunion,” which is the failure of plaintiff’s fracture

to heal properly. Id. at 819-820. Because of this secondary cause of the nail’s failure, and the

plaintiff’s failure to produce evidence demonstrating the secondary cause was not “reasonable,”

this Court granted summary judgment to the defendant as the plaintiff had failed to produce

sufficient evidence to qualify for an inference. Id. The Tenth Circuit affirmed. Id. at 821.

       D. Other jurisdictions’ approaches to “inference of defect” theories.

       Other jurisdictions have adopted similar “inference” rules. The Sims court borrowed the

analysis from the Illinois decision in Tweedy v. Wright Ford Sales, Inc., 357 N.E.2d 449, 452 (Ill.

1976) (finding a plaintiff could present a prima facie case of defective product by proving absence

of abnormal use or reasonable secondary cause). The Seventh Circuit also examined Illinois’

“inference” rule in Bielskis v. Louisville Ladder, Inc., ultimately finding that while plaintiff’s

expert identified a failure in a scaffolding component due to brittle fracture, the plaintiff was not

entitled to inference because could not exclude abnormal use or secondary cause of failure. 663

F.3d 887, 887-98 (7th Cir. 2011).

       Pennsylvania adopted an “inference of defect” approach as well, terming it the

“malfunction theory of strict liability.” Rogers v. Johnson & Johnson Prods., Inc., 565 A.2d 751,

754 (Penn. 1989). The Rogers court explained the “malfunction” theory “encompasses nothing

more than circumstantial evidence of a product malfunction.” Id. (citation omitted). “It thereby

relieves the plaintiff from demonstrating precisely the defect yet it permits the trier-of-fact to infer

one existed from evidence of the malfunction, of the absence of abnormal use and of the absence



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of reasonable, secondary causes.” Id. (citation omitted). The Rogers court found that “so long as

the plaintiffs presented a case-in-chief free of secondary causes which justified the inference of a

defect in the product, the jury was free to accept their scenario.” Id. at 755. However, a plaintiff

presenting a malfunction theory “cannot depend upon conjecture or guesswork.” Barnish,

Barnish v. KWI Bldg. Co., 980 A.2d 535, 541 (Pa. 2009) (emphasis added); Dansak v. Cameron

Coca-Cola Bottling Co., 703 A.2d 489, 496 (Pa. Super. Ct. 1997).

        Other states have adopted the “inference” or “malfunction” theory. See e.g., Metro. Prop.

& Cas. Ins. Co. v. Deere & Co., 25 A.3d 571, 580 (Conn. 2011) (explaining malfunction theory

“does not relieve a plaintiff of the burden to prove all elements of a product liability claim” and

that “proof of an accident alone is insufficient to establish a manufacturer’s liability”). Connecticut

has found this theory available only when direct evidence is unavailable, e.g., a product is lost in

an explosion or a fire destroys most or all of the product’s components. Id. at 579. Connecticut has

also held that a claim based on a “malfunction” theory must be separately pled from a specific

defect theory. White v. Mazda Motor of Am., Inc., 99 A.3d 1079, 1095, n. 9 (Conn. 2014). New

Jersey has also required a separate pleading to notify the defendant of a malfunction theory.

Scanlon v. Gen. Motors Corp., Chevrolet Motor Div., 326 A.2d 673, 680-81 (N.J. 1974) (finding

plaintiff had only pled and went through discovery, pretrial and trial on a specific defect theory

and could not fault court for failing to consider inference theory).1

        Notably, at least two states have held that a plaintiff cannot proceed on both a specific

defect and inference theory. Ellis v. Beemiller, Inc., 910 F. Supp. 2d 768, 775 (W.D. Pa. 2012)




1 Connecticut has held that a plaintiff cannot rely upon a “malfunction theory” to prove a design defect. White, 99
A.3d at n. 9. Defendants’ motion for summary judgment sought dismissal of Plaintiffs’ design defect theory because
King offered no opinions on design defect and failed to identify an alternative design. ECF No. 99, at pp. 20-21; ECF
No. 130, at pp. 6-7. This Court’s discussion of the “inference” recognized under Wyoming law did not delineate
between a design or manufacturing defect theory. ECF No. 143, at p. 19.

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(holding Pennsylvania’s malfunction theory unavailable where plaintiff had specific defect theory,

was in possession of allegedly defective product, and subjected product to testing); Pitts v. Genie

Indus., Inc., 921 N.W.2d 597, 614 (Neb. 2019) (“[T]he malfunction theory is not available when

specific defects are alleged.”); O'Brien v. Cessna Aircraft Co., 903 N.W.2d 432 (Neb. 2017)

(same).

          E. Analysis of “inference of defect” in this case.

          Plaintiffs should not be permitted to proceed on an “inference of defect theory” in this case

for two primary reasons: (1) they have only ever identified a “specific” defect theory, and (2) there

is evidence of other reasonable secondary causes for the product failure. Under Wyoming law, an

inference would be inappropriate and invite a jury to speculate in reaching its verdict.

                 1. Plaintiffs have not pleaded nor asserted an inference of defect theory.

          Here, the Plaintiffs only pled a specific defect theory. They claimed damages for injuries

“sustained when a defective and unreasonably dangerous hoverboard [ ] exploded and caught fire

while in Plaintiffs’ home.” ECF No. 1, at ¶ 1. They further alleged that “the Subject Hoverboard’s

lithium ion battery malfunctioned experiencing thermal runaway which caused the Subject

Hoverboard to suddenly ignite causing a fire that burned down Plaintiffs’ house while Plaintiffs

were inside.” Id. at ¶ 34. In keeping with their Complaint allegations, Plaintiffs designated Derek

King as an expert, who offers the following opinion:

          Detailed examination of the subject board shows that two out of ten cells exploded
          while the other eight cells show heat damage. Exploding cells are consistent with
          an internal short, thermal runaway, and vaporization and ignition of the liquid
          electrolyte.

ECF No. 73-3.

          In response to Defendants’ Motion for Summary Judgment, Plaintiffs again explained that

Mr. King had specific defect opinions. See ECF No. 123. The first time a potential “inference”


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theory was raised was in the Court’s Order. ECF No. 143. “New liability theories after summary

judgment are discouraged.” Muskrat v. Deer Creek Pub. Sch., 715 F.3d 775, 791 (10th Cir. 2013).

Where the parties have already completed discovery, expert designations, and raised their

dispositive and Daubert motions, it would be prejudicial to allow Plaintiffs to proceed on a new

theory at trial.

        In short, Plaintiffs should not be permitted to proceed on an unpled theory of liability,

which is inconsistent with their theory all the way through the pretrial stage. An “inference” theory

is not warranted here, as Plaintiffs and their experts have had the opportunity to examine the

allegedly defective product, conducted testing, and claimed specific defects. See Ellis, supra, 910

F. Supp. 2d at 775.

                   2. Plaintiffs cannot rule out other reasonable secondary causes for the defect.

        Not only would it be inappropriate to allow Plaintiffs to proceed on an “inference” theory

given the procedural history, Plaintiffs are not entitled to an inference per Wyoming law. As a

reminder, a plaintiff can only proceed on an “inference” theory if they cannot exclude other

reasonable secondary causes for the product’s failure. Rohde, 165 P.3d at 439. Here, both of

Plaintiffs’ experts acknowledge reasonable secondary causes for both the product failure, i.e.,

specific lithium-ion battery cells, and the fire itself. King testified that two separate lithium-ion

battery cells failed within the hoverboard. However, he conceded that this “failure” of the cells

looks the same as if the cells were attacked by an external fire. (Ex. A, Dep. King, at 190:7-10;

192:9-19). King cannot exclude a secondary cause of the product’s failure.

        King also testified that he relied upon Plaintiffs’ other expert, Schulz, and his opinions as

to where the fire at issue may have started. Id. at 31:2-7. Schulz admitted that there were “electrical

anomalies” in the shed on the outside of the home. (Ex. B, Dep. Schulz, 15:5-10; 16:1-10). Schulz



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also acknowledged that he was not aware of any evidence of electrical arcing inside the house. (Id.

at 15:2-6). He also conceded at his deposition on September 10, 2024, that a smoldering cigarette

could have caused the fire. (Id. at 136:9-137:5). He further acknowledged that there is a high

likelihood of a smoldering type fire from the careless disposal of smoking material (i.e. a cigarette),

(Id. at 136:9-14), and that a fire could result from a smoldering cigarette event after a lengthy

period of time between the actual careless disposal of the cigarette – similar to the approximate 2-

3 hours that occurred between the time Mrs. Wadsworth had her last cigarette and the identification

of the fire in this case. (Id. at 136:16-21).

        Defendants have presented expert opinions, based upon analysis, testing, and modeling,

that demonstrate the fire originated in the plastic shed outside the home and was likely caused by

the ignition of combustible materials such as a cigarette smoldering in the shed. ECF 80-1 (Filas

report); ECF 80-4 (Gorbett report). Gorbett’s role was to assess the two competing fire origin

hypotheses presented in this case and determine which, if either, fire dynamics computer modeling

supports. He concluded that “the fire testing, empirical correlations, CFD simulations, and the

application of fundamental fire dynamics verify that a single origin at the exterior storage

‘smoker’s’ shed better replicated the fire damage in the structure and better correlated to the

witness statements and timeline.” ECF 80-4, p. 43. While Plaintiffs obviously do not agree with

this opinion, they cannot rule out this alternative cause for the fire and failure of two separate cells

within the hoverboard.

        Plaintiffs should be held to their proof in demonstrating a product defect, as set forth in the

elements the Ogle court established for a Wyoming product liability claim. Allowing any sort of

“inference” theory in light of the pleadings, expert opinions and testimony, and existing reasonable

alternative causes, would alter (lessen) Plaintiffs’ burden. For these reasons, Defendants



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respectfully ask that the Court disallow any instruction or argument presented to the jury on an

“inference” theory.

II.     THE “ROGUE” MODEL, KAUFMAN MATTER AND THE RECENTLY DISCLOSED OTHER
        ALLEGED INCIDENTS ARE NOT SUBSTANTIALLY SIMILAR AND SUCH EVIDENCE IS
        UNDULY PREJUDICIAL AND CONFUSING FOR THE JURY.

        Plaintiffs’ theory in this case is that two individual lithium-ion battery cells (cell numbers

4 and 10) had an internal short circuit at substantially the same time and failed. (ECF 73-3, pg. 8-

12, 15). As a result, the specific defect plaintiffs allege relates to these two individual battery cells.

Plaintiffs do not allege any other defect with the subject Plasma model hoverboard.

        To have a short circuit, the anode (negative side) and cathode (positive side) within the

individual cell need to communicate with each other. (Ex. A, Dep. King, at 75:18-22). Each

lithium-ion battery cell, however, is manufactured with a polymer-based separator that prevents

the anode and cathode from communicating. (Id. at 87:25-88:14). Therefore, to have a short circuit,

the separator within the individual cell must fail. (Id. at 88:11-89:5). Plaintiffs’ expert, Derek King,

does not contend that a short circuit is in anyway related to the battery pack – he only references

the two individual cells.

        In the Court’s decision related to Defendants’ motion in limine number 1 (ECF 163), there

is significant discussion about battery packs. While the Court is correct that the battery pack is the

manner in which the cells are connected to each other, it is two individual cells that Plaintiffs’

expert, King, contends are defective. The battery pack as a whole for the Plasma model consists

of ten individual lithium-ion battery cells and the battery management system. King, however,

only takes issue with cells 4 and 10, which he contends encountered an internal short circuit at

approximately the same time and caused the fire. King does not have any criticisms of the other




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eight battery cells within the battery pack, the battery management system within the battery pack

or the battery pack as a whole.

        The Court’s decision with respect to the Rogue model seems to indicate that the only

similarity required to be admissible is that the Kaufman case involved “a house fire where the

alleged point of origin was a Jetson hoverboard and the causes being lithium-ion battery failures.”

(ECF No. 163, pg. 11). The Court also seems to suggest that it is immaterial as to whether the

lithium-ion battery cells were manufactured by the same company in conducting its substantial

similarity analysis. Defendants respectfully disagree with this broad interpretation of the

substantial similarity test. Before evidence of other accidents is admissible for any purpose the

party seeking its admission must show that the circumstances surrounding the other incidents were

substantially similar to the accident that is the subject of the litigation. Black v. M & W Gear Co.,

269 F.3d 1220, 1227 (10th Cir. 2001). In essence, Plaintiffs bear the burden to prove substantial

similarity.

        The Rogue model was the only model addressed in Defendants’ motion in limine as it was

the only non-Plasma model Plaintiffs raised during discovery. Recently, however, Plaintiffs have

also identified trial exhibits related to four additional cases in which Jetson was a defendant:

Demark, Hottenstein, Mendoza, and Reichley. These cases are listed as Plaintiffs’ proposed trial

exhibits 243-246 (along with sub exhibits) and attached hereto as Exhibit C, D, E and F.

Significantly, none of these cases involve a Plasma model hoverboard. The Demark and

Hottenstein claims allegedly involved the Glyro model hoverboards, which pre-dates the UL 2272

design standard. (See Husain Dec.). The other two matters, Mendoza and Reichley, allegedly

involved Strike model hoverboards.




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        Plaintiffs have also identified eight alleged CPSC consumer complaints related to

additional non-Plasma model Jetson hoverboards. These CPSC documents are listed as Plaintiffs’

proposed trial exhibits 198A-G and attached hereto as Exhibit G. The models include the Glyro

(which is a pre-UL 2272 model), Strike, Hali and Spin models. These consumer complaints are

hearsay, and even if not offered for the truth of the matter asserted, are not relevant to the Plasma

model. Nonetheless, even if the Court finds some modicum of relevance, they are unduly

prejudicial, confuse the issues and mislead the jury. As a result, they should be barred under Fed.

R. Evid. 403. Further, these reports contain very limited information, are unsubstantiated

complaints and the history and use of each hoverboard is unknown. As a result, it is impossible for

Plaintiffs to meet their burden to show substantial similarity for the CPSC consumer complaints.

        Plaintiffs have further identified unsubstantiated consumer complaints from Facebook and

from Amazon as proposed trial exhibits 200, 200A, 200B and 203 and attached hereto as Exhibits

H and I. First, none of these relate to the Plasma model. Second, all of these documents are

unsubstantiated hearsay statements which also are not relevant. To the extent there is any

relevance, these documents are inadmissible under Fed. R. Evid. 403.

        The simple fact that there was an allegation of a house fire that involved a lithium-ion

battery powered hoverboard should not be enough to meet the substantial similarity test. If that

were the case, then potentially every alleged hoverboard fire or even every alleged fire related to

a lithium-ion battery powered product would potentially be admissible. Such other lithium-ion

battery powered products could include e-bikes, scooters, cell phones, laptops, etc. The list of

products that use lithium-ion batteries is lengthy. In fact, Plaintiffs have already indicated that they

intend to expand the product categories as they have proposed a trial exhibit on e-bikes and e-

scooters. (See e.g. Pl. Proposed Ex. 251A attached as Exhibit J). To allow this would create



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numerous mini trials within this trial that would distract and mislead the jury and confuse the issues

from what this trial is actually about – what happened the morning of February 1, 2022 at the

Wadsworth house that caused the fire. While Defendants continue to assert that the alleged other

incidents are not relevant under Fed. R. Evid. 401 and do not meet the substantial similarity

requirement, they all should also be barred from evidence under Fed. R. Evid. 403.

       With respect to the Rogue recall and Kaufman case, as the Court noted, these occurred after

the Wadsworth fire and “are generally inadmissible to show notice.” (ECF 163, pg. 9). As a result,

this evidence can only be used to prove causation. Other incident evidence, however, requires a

“high degree of similarity” when offered to prove causation. See Smith v. Ingersoll-Rand Co., 214

F.3d 1235, 1246 (10th Cir. 2000) (“Hence we require a high degree of similarity when plaintiffs

offer other accident evidence to prove causation in their case…”).

       Here, Plaintiffs cannot prove that there is a “high degree of similarity” between the Rogue

and Plasma models, as they utilized different capacity battery cells and the cells were manufactured

by different manufacturers as discussed in Defendants’ motion in limine. (ECF 140, pg. 2-5). Nor

can a high degree of similarity be shown between the Kaufman case and the instant matter as it

was alleged that the Kaufman hoverboard was charging and there is no evidence that the subject

Plasma hoverboard was charging in this case. (Id.). Nonetheless, the Court will have an

opportunity to hear Plaintiffs’ supposed evidence in an attempt to meet this standard on February

28, 2025. The standard Plaintiffs are required to meet for the Rogue and Kaufman matter at the

February 28, 2025 hearing, however, is the heightened standard of a “high degree of similarity.”

       With respect to the four additional cases Plaintiffs include in their exhibit list, the Demark

and Hottenstein claims allegedly involved the Glyro model, which pre-dated the UL 2272 standard.

(See Husain Dec.). As such, Plaintiffs cannot prove a substantial similarity in those instances as



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they were not even designed and/or manufactured to the same standard. In fact, there was no design

standard for hoverboards before UL 2272 was issued. (Id.) Moreover, Plaintiffs’ proposed exhibit

243B contains expert reports from the Demark case. The reports show that the Glyro hoverboard

utilized a Samsung battery pack and Samsung battery cells. The Plasma model did not utilize a

Samsung manufactured battery pack or battery cells. (Id.)

       As for the Mendoza and Reichley matters, Plaintiffs cannot show that the Strike model at

issue in those cases had the same battery cell capacity and/or manufacturer as the subject Plasma

model either. Again, it is the individual lithium-ion battery cells that Plaintiffs contend are

defective. Nonetheless, to the extent Plaintiffs intend to offer such evidence about these other

alleged incidents, they should be required to make a showing of substantial similarity either at the

Court hearing on February 28, 2025, or at some other time outside the presence of the jury before

such evidence is put before the jury.

       Similarly with respect to the eight alleged CPSC consumer complaints that Plaintiffs have

included as proposed trial exhibits 198A-G, Plaintiffs should be required to make a showing of

substantial similarity either at the Court hearing on February 28, 2025, or at some other time

outside the presence of the jury before such evidence is put before the jury. The same requirement

should apply to the Facebook complaints and Amazon customer reviews. Again, none of the CPSC

or other consumer complaints involve a Plasma model hoverboard, have any relevance to this

matter and also should be admissible under Fed. R. Evid. 403.

       The only other incident that allegedly involved in a Plasma hoverboard was the Donwell

case which was the subject of Defendants motion in limine number 2 (ECF 140, pg. 5-10). The

Court denied this motion with respect to the Donwell case.




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                                       CONCLUSION

       Based on the foregoing reasons and authorities, Defendants respectfully submit that

Plaintiffs should not be entitled to a product defect inference and the above referenced “other

incidents” that did not involve a Plasma model hoverboard should be excluded from evidence.

                                           McCOY LEAVITT LASKEY LLC

                                           Attorneys for Defendants, Jetson Electric Bikes,
                                           LLC and Walmart Inc.


Dated: February 14, 2025                   By:
                                                   Eugene M. LaFlamme (pro hac vice)
                                                   Jared B. Giroux (pro hac vice)
                                                   Jillian L. Lukens (pro hac vice)
                                                   McCoy Leavitt Laskey, LLC
                                                   N19 W24200 Riverwood Drive, Suite 125
                                                   Waukesha, WI 53188
                                                   (P) 262-522-7000
                                                   elaflamme@MLLlaw.com
                                                   jgiroux@MLLlaw.com
                                                   jlukens@MLLlaw.com

                                                   Timothy M. Stubson, Wyo. Bar No. 6-3144
                                                   Brandon E. Pryde, Wyo. Bar No. 8-6883
                                                   Holly L. Tysse, Wyo. Bar No. 7-5553
                                                   Crowley Fleck PLLP
                                                   111 West 2nd Street, Suite 220
                                                   Casper, WY 82601
                                                   (P) 307-232-6901
                                                   tstubson@crowleyfleck.com
                                                   bpryde@crowleyfleck.com
                                                   htysse@crowleyfleck.com




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